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10 Projects That Changed the Face

of Downtown L.A. During the 2010s

These additions were major in a neighborhood that saw an unprecedented boom over

the last decade




JON REGARDIE • DEC 30, 2019




In the last decade, major developments proliferated across Los Angeles, but no place boomed quite like

downtown. The once 9-to-5 neighborhood saw billions in investment and emerged as a vibrant destination

replete with residential projects, new restaurants, and cultural destinations.




Concerns about displacement and rising rents surfaced in many changing L.A. neighborhoods in the last

decade, downtown included, but a number of these projects were ultimately welcomed by area inhabitants

and workers. The overall result is a community that looks drastically different than it once did.




Here are the 10 most important DTLA additions of the 2010s.




Ritz-Carlton/JW Marriott Hotel



Opened: February 16, 2010




Anschutz Entertainment Group, which built Staples Center and L.A. Live, continued its overhaul of

downtown’s South Park neighborhood with a 1,001-room hotel intended to bolster the tourism industry. With

878 JW Marriott rooms and 123 five-star Ritz-Carlton rooms in a single complex, the $1 billion project stands

54 stories and—bonus for convention bookers—holds a collection of massive ballrooms. It’s got a batch of

eating and drinking spots, and for the most well-to-do seeking a pied-a-tèrre, there are 224 Ritz-brand

condominiums.




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Grand Park



Opened: July 26, 2012




An unremarkable Civic Center expanse was turned into public space and has gone on to host food

happenings, book festivals, holiday light shows, a mayoral inauguration party, free public dance events, and

much more. The $56 million Grand Park, designed by Rios Clementi Hale Studios and bankrolled by

developer the Related Companies as part of its agreement to build the mega-project the Grand, runs from

the Music Center to City Hall, and is divided into three sections. The programming is robust, there’s ample

greenery, and a children’s playground. On warm days little kids frolic in the splash pad.




Star Apartments



Opened: November 28, 2013




Downtown saw dozens of market-rate apartment buildings open in the 2010s, but few were as impressive as

the low-income Sixth Street project from Skid Row Housing Trust. The $21 million development, designed

by Silver Lake architect Michael Maltzan, utilized prefabricated residences assembled in Idaho and then

lowered by crane onto a concrete structure; the 102 permanent supportive housing units each measure

about 350 square feet and serve formerly homeless individuals. The angular concrete supports give the

project a dynamic look, and the complex contains a 15,000-square-foot deck and on-site support services.

It's a jewel in the heart of skid row.




Ace Hotel



Opened: January 15, 2014




The sleepy corner of Ninth Street and Broadway rocketed into the future when a shuttered 1927 office

building was reborn as the hipster magnet Ace Hotel. The 12-story tower—originally the United Artists

Building—became home to a 182-room boutique establishment, and paved the way for nearby arrivals such

as Urban Outfitters, Sweden’s Acne Studios, and the recently opened Proper Hotel. A key component of the

project was the 1,600-seat, former United Artists Theatre, now the Theatre at Ace Hotel. The movie house,

which for a long time had served as home of televangelist Gene Scott’s operations, was restored and today

hosts concerts and occasional films.




Hall of Justice



Opened: October 8, 2014




A stately 12-story edifice on Temple Street that had been closed for 20 years after suffering severe damage

in the Northridge earthquake reopened following a $230 million renovation. The revived Beaux Arts

structure holds offices for the District Attorney and the Sheriff ’s Department, but its past still stands out—it

is the oldest surviving government building in downtown, and the infamous figures once held there include




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Bugsy Siegel, Charles Manson, and Sirhan Sirhan. In addition to activating a former derelict property,

elements of the past are presented in a ground-floor display.




The Broad



Opened: Sept. 20, 2015




Eli and Edythe Broad’s $140 million arts palace was was arguably DTLA’s most significant (certainly most

ostentatious) cultural addition of the decade. The private museum with the honeycomb exterior designed by

the firm Diller Scofidio + Renfro holds about 2,000 artworks the couple collected over the decades, and

displays approximately 200 paintings, drawings, sculptures, installations, etc. at any one time. The building,

next to Walt Disney Concert Hall, helped make First and Grand a regional destination, and even better,

admission is free (though some special shows require paid tickets).




United States Courthouse



Opened: October 13, 2016




A pit in the heart of downtown that once filled with water during winter rains became home to a sleek,

energy-efficient hub of jurisprudence. The $350 million reflective building nicknamed the “Floating Cube”

opened 15 years after a project was first proposed for the site, and holds 24 courtrooms, 32 judges’

chambers, and a ground-floor courtyard complete with a succulent and oak tree garden. The ten-story

edifice on First Street received LEED Platinum certification for sustainability measures including a design

that reduces the solar radiation load by 47 percent.




L.A. State Historic Park



Opened: April 22, 2017




Technically this marked a reopening for a park that originally debuted in 2014, but a three-year, $20 million

overhaul allowed the spot on the edge of Chinatown to reach its full potential. The 32-acre, whale-shaped

site was long known as the Cornfields, but now is a destination for people from downtown and beyond

thanks to its green space, picnic areas, viewing bridge, and path for walkers and joggers. It's the closest

thing to a nature preserve around DTLA, and also hosts occasional concerts. In the future, it is slated to

house a 50-foot water wheel.




Wilshire Grand Center



Opened: June 23, 2017




The $1.2 billion project at Seventh and Figueroa streets literally changed the downtown skyline. Korean Air

was behind the endeavor that replaced a rundown 1952 hotel, and AC Martin designed the 73-story

structure with 889 hotel rooms and 400,000 square feet of office space that claimed the title of tallest




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building west of the Mississippi (though, asterisk alert, that includes a 200-foot-plus spire). It also was the

first new Los Angeles high-rise to have a curved roof, rather than a flat one. The Wilshire Grand instantly

emerged as one of the most photographed landmarks in DTLA.




NoMad Hotel



Opened: January 21, 2018




A 1923 Neoclassical gem that originally served as the Bank of Italy headquarters gained new life as a chic

boutique hotel, the first West Coast outpost for New York City’s NoMad brand. Its arrival ended the 12-story

structure’s status as one of downtown’s most frustrating eyesores—it had sat dormant for decades, even as

the surrounding Financial District thrived, until an absentee owner sold the property. Development firm

the Sydell Group turned it into a 241-room luxury property where the lowest advertised rate is usually north

of $250 a night. It is also home to a buzzy restaurant.




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